'Case 1:04-cv-01098-.]DT-STA Document 52 Filed 04/29/05 Page 1 of 3 PagelD 20

04-14521
lN THE UNlTED STATES DlSTRlCT COURT FOR THE WESTERN DlSTRlCT OF

TENNESSEE, EASTERN DlV|SlON

 

MARCHELLO ROLAND, MON|CA GREER,)
as parent of TERENCE GREER, YVONNE )
SHAW, as parent of ANTWAIN SHAW, )
ER|C BRAND, and ANTHON\' CARNEY,

l
l
PLAlNTlFF )
l
)

V. No. 1-D4-1098-T- An

l
HAYWOOD COUNTY BOARD OF l
EDUCATION, PATRlClA GRUENWALD, )
HAROLD GARRETT, KENT MOORE, )
MAGG|E STEWART, and GLOR|A )
SWEET-LOVE, in their official capacity as)
members of the Board of Education; )
HAYWOOD COUNT¥ SCHOOLS )
DlSClPLlNAR¥ HEARlNG AUTHOR|TV, )
P.J. ANGO!TT|, JlM FRAZ|ER, DOROTH¥ )
BOND, LAVERNE TUCKER, and TERESA)
)
)
l
)
)
l
l
l
l

iu

"H"'.r"\».

10 1910 en 0`§

.J_ VL.J

`\-:- i\-e

l
_z

RUSSELL, in their official capacity as
members of the Disciplinaryr Hearing
Authority; GEORGE CHAPMAN, in his
official capacity as Director of Haywood
County Schools; and ROBERT
MlTCHELL, in his official capacity as
Principal of Haywood High School,

'>lUVT`"Nl

FOS
C'li@t;ll l(] `H th

1

90 =8 ltd 62 Hdli 90

`U'G M§§AS OJl|J

DEFENDANT.

 

ST|PULATION OF DlSMlSSAL

 

Come now the Plaintiffs and Defendants and would set forth that the above
reference cause should be dismissed with prejudicel

|T lS THEREFORE ORDERED, ADJUDGED AND DECREED that this cause is
dismissed with prejudice

|T lS FURTHER ORDERED that costs of this cause are taxed against the

Plaintiffs for which execution may issue if necessary

Thls document entered on the docket shoot ln com Il’arlco
with Hule 58 and.'or_?Q (a) FF|CF on _@'Q ` Page 1 Of 2 ®

`Case 1:04-cv-01098-.]DT-STA Document 52 Filed 04/29/05 Page 2 of 3 PagelD 21

!“ `
Entered this 529 ’Jay of Q#_<£ ,2005_

wmame

APROVED FOR ENTRY:

    

By: 5 HO
80 Monroe, Suite G-1 25
Memphis, TN 38103
901 -524-0200

By:

 

Jackson, Tennessee 38301
(731) 424-6211

CERT|F|CATE OF SERV|CE

This is to certify that l served a copy of this pleading or papers in person or by mail
upon each attorney or firm of attorneys appearing of record for each adverse party on or

before the filing date thereof.

DATE: This the £Byof AFZI;‘ ,2005.

WALDROP & HALL, P_A_

©M/Mm@
W U 0

Page 2 of 2

 

DlSTRlCT oURT - WESTENR D"ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 52 in
case 1:04-CV-01098 Was distributed by faX, mail, or direct printing on
May 2, 2005 to the parties listed.

 

Charles Wayne Cagle

LEWIS KING KRIEG & WALDROP, PC

201 4th Avenue North
Ste. 1500
Nashville, TN 37219

Andrevv V. Sellers
WALDROP & HALL
106 S. Liberty Street
P.O. Box 726

.1 ackson7 TN 38302--072

Charles M. Purcell
WALDROP & HALL
106 S. Liberty Street
P.O. Box 726

.1 ackson7 TN 38302--072

Scott A. Kramer
BOROD & KRAMER
80 Monroe Ave.

Ste. G-1

1\/1emphis7 TN 38103

.1 ennifer Craig
WALDROP & HALL
106 S. Liberty Street
P.O. Box 726

.1 ackson7 TN 38302--072

Honorable .1 ames Todd
US DlSTRlCT COURT

